
19 So.3d 347 (2009)
Donald MAYNARD, Appellant,
v.
The FLORIDA BOARD OF EDUCATION, acting by and through the UNIVERSITY OF SOUTH FLORIDA, Appellee.
No. 2D07-5543.
District Court of Appeal of Florida, Second District.
April 22, 2009.
Wendolyn S. Busch and J. Meredith Wester of Mechanik Nuccio Hearne &amp; Wester, P.A., Lutz, for Appellant.
John D. Goldsmith and Brigid A. Merenda of Trenam, Kemker, Scharf, Barkin, Frye, O'Neill &amp; Mullis, P.A., Tampa, for Appellee.
DAVIS, Judge.
Donald Maynard challenges the trial court's order awarding attorneys' fees in the amount of $148,568 to The Florida Board of Education, acting by and through the University of South Florida. In Maynard v. Florida Board of Education ex rel. University of South Florida, 998 So.2d 1201 (Fla. 2d DCA), review denied, No. SC09-230, 2009 WL 530130 (Fla. Mar. 03, 2009), this court reversed the trial court's denial of Maynard's motion for new trial and remanded the matter for further consideration. In light of that reversal, the parties concede that reversal of the fee order generated from that appeal is also required. See Wagner v. Uthoff, 868 So.2d 617, 618-19 (Fla. 2d DCA 2004). Accordingly, we reverse the order awarding attorneys' fees and remand for any further consideration necessary once the trial court has readdressed Maynard's motion for new trial.
Reversed and remanded with instructions.
SILBERMAN, J., and DAKAN, STEPHEN L., Associate Senior Judge, Concur.
